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                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

IN RE: KATRINA CANAL BREACHES                               *    CIVIL ACTION NO.: 05-4182
CONSOLIDATED LITIGATION                                     *
                                                            *    SECTION “K”
PERTAINS TO:             C. Abadie, 06-5164                 *    Judge Stanwood R. Duval, Jr.
                                                            *
This pleading applies only to the claim of Wendell Youngblood*   MAGISTRATE (2)
regarding 11120 Idlewood Court, New Orleans, LA 70128       *    Magistrate Joseph C. Wilkinson, Jr.
                            *
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           MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE
                    CROSSCLAIM IN INTERPLEADER

MAY IT PLEASE THE COURT:

        This is a Hurricane Katrina claim. The defendant, Lexington Insurance Company and

plaintiff, Wendell Youngblood, have reached a settlement agreement that disposes of the claim

alleged in the original petition.        On information and belief, Youngblood has entered into

agreements with the State of Louisiana, Division of Administration, Office of Community

Development, Louisiana Recovery Authority; has an active mortgage on the subject property;

and is represented by counsel.

         Lexington is merely a disinterested stakeholder in settlement funds to be paid pursuant to

a settlement agreement by and among Youngblood and Lexington in connection with a cause of

action entitled In Re: Katrina Canal Breaches Consolidated Litigation, Docket No. 05-4182,
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pertains to C. Abadie, No. 06-5164, United States District Court for the Eastern District of

Louisiana, which sought, inter alia, coverage under the Lexington policy for damages due to

Hurricane Katrina to property insured by Lexington (the “Underlying Litigation”). Specifically,

Lexington is ready, willing, and able to make payment totaling in excess of $500.00 (hereinafter

the “Proceeds”).

       Made defendants in Lexington’s proposed Crossclaim for Interpleader are the following

persons and entities, all of whom, on information and belief, are known to have an interest in the

Proceeds:

       1.      Estate of Wendell Youngblood, Insured;

       2.      State of Louisiana, Division of Administration, Office of Community

               Development, Louisiana Recovery Authority (hereinafter “Road Home”),

               Administrators of the Road Home Program, a program for victims of Hurricanes

               Katrina and/or Rita, which, on information and belief, is an instrument of the

               Louisiana Division of Administration for the State of Louisiana;

       3.      U.S. Bank c/o Firststar Home Mortgage; and

       4.      The Law Office of Joseph M. Bruno, APLC, a Louisiana entity with its principal

               place of business in Louisiana.

       The four individual parties listed above may have an interest in the proceeds of the

aforementioned settlement, the nature and extent of these various interests in these proceeds

currently are unknown to Lexington.

       By reason of the foregoing, Lexington is unable to determine who is the proper payee(s)

for the Proceeds paid pursuant to settlement of the Underlying Litigation, and is, or may be,


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exposed to multiple liability if it were to act unilaterally at the exclusion of one or more of the

claimants.

       Lexington moves for leave to file its proposed Crossclaim for Interpleader in hopes that

the proper payees can be determined and Lexington can satisfy its contractual and statutory

obligation to tender the amount(s) due pursuant to the settlement agreement executed in

conjunction with the Underlying Litigation.

       Youngblood and the Law Office of Joseph M. Bruno, APLC, are hereby notified of

Lexington’s intent to seek this Honorable Court’s leave to file its’ Crossclaim for Interpleader.



                                              Respectfully submitted;


                                               /s/ Robert I. Siegel
                                              ROBERT I. SIEGEL (# 12063)
                                              JOHN E.W. BAAY II (# 22928)
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing has been forwarded to all counsel

of record via the Court’s electronic filing system and/or by placing same in the U.S. Mail,

postage prepaid and properly addressed on this 17th day of August, 2011.

       Joseph M. Bruno, Esq.
       Melissa DeBarbieris, Esq.
       LAW OFFICE OF JOSEPH M. BRUNO, APLC
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       New Orleans, Louisiana 70113
       ATTORNEYS FOR PLAINTIFF,
       WENDELL YOUNGBLOOD

                                            /s/ Robert I. Siegel
                                            ROBERT I. SIEGEL




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